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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

       Plaintiff,

vs.                                                 Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

       Defendants.

                                CERTIFICATE OF SERVICE

        I hereby certify that on March 5, 2021, I caused a true copy of the following document(s)
to be served in this action upon the person(s) set forth below, by the method indicated.

DOCUMENT(S) SERVED:                  PLAINTIFF’S RULE 26(a)(2) EXPERT WITNESS
                                     DISCLOSURES


PERSON(S) SERVED:                    Counsel for Meow Wolf Inc. and Vince Kadlubek
                                     Benjamin Allison
                                     Breanna Contreras
                                     Victor Grafe III
                                     141 E. Palace Avenue, 2nd Floor
                                     Santa Fe, NM 87501
                                     (505) 995-800
                                     (505) 672-7037 (f)
                                     ben@bardackeallison.com
                                     breanna@bardackeallison.com
                                     victor@bardackeallison.com

XX (BY MAIL – postmarked March 6, 2021) I caused an envelope addressed to the above
person(s) and containing the documents listed above, with postage thereon fully prepaid, to be
placed in the United States Mail in Concord, California.

XX (BY ELECTRONIC MAIL) I caused said document(s) to be electronically mailed to the
person(s) named above at the electronic mail address(es) stated.



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        Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the foregoing is
true and correct. Executed on July 16, 2020.


                                                     /s/ Jesse A. Boyd
                                                    JESSE A. BOYD
                                                    2300 Clayton Road, Suite 350
                                                    Concord, CA 94520
                                                    (510) 832-7770
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                                                    New Mexico Bar No. 17807
                                                    Attorney for Plaintiff Lauren Adele Oliver




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